
USCA1 Opinion

	














                            UNITED STATES COURT OF APPEALS
                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                FOR THE FIRST CIRCUIT
                                 ____________________

        No. 93-1898

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                  MICHAEL B. LONDON,

                                Defendant, Appellant.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                       [Hon. Mark L. Wolf, U.S. District Judge]
                                           ___________________

                                 ____________________

                                        Before

                                  Cyr, Circuit Judge,
                                       _____________
                            Coffin, Senior Circuit Judge,
                                    ____________________
                          and Bownes, Senior Circuit Judge.
                                      ____________________

                                 ____________________

            Henry D. Katz for appellant.
            _____________
            Nina  S. Goodman,  Attorney, with  whom, David  S. Kris, Attorney,
            ________________                         ______________
        Department of Justice, Criminal Division, Appellate Section, Donald K.
                                                                     _________
        Stern, United  States Attorney,  Dina M. Chaitowitz,  Assistant United
        _____                            __________________
        States  Attorney,   and  Michael  Kendall,   Assistant  United  States
                                 ________________
        Attorney,  were on brief for appellee.


                                 ____________________

                                  September 18, 1995
                                 ____________________


















                      BOWNES, Senior  Circuit Judge.  After  a trial that
                      BOWNES, Senior  Circuit Judge.
                              _____________________

            spanned the  better  part of  two  months, a  jury  convicted

            defendant-appellant  Michael  B.   London  of  conspiring  to

            conduct and actually conducting  the affairs of an enterprise

            through a pattern of racketeering activity ("RICO conspiracy"

            and "RICO  substantive"), money  laundering, failing  to file

            currency transaction reports  ("CTRs"), conspiring to  commit

            extortion, and aiding and  abetting extortion.  Subsequent to

            the jury  verdict, London also pleaded guilty to tax evasion.

            For  his   crimes,  London  was  sentenced   to  188  months'

            imprisonment and fined  $500,000.  In addition, he  agreed to

            forfeit $865,000.

                      In  this appeal, London challenges his convictions,

            arguing that the  district court  erred:  (1)  in failing  to

            suppress  certain  evidence   relevant  to   his  counts   of

            conviction; (2) in  instructing the jury on the law regarding

            failure to file CTRs; and (3) in  failing to grant his motion

            for  a judgment of acquittal on the money laundering and RICO

            counts.   After carefully considering the parties' arguments,

            we affirm.

                                          I.
                                          I.
                                          __

            A.  Factual Background
            A.  Factual Background
            ______________________

                      London operated Heller's Cafe ("Heller's), a bar in

            Chelsea, Massachusetts.  He also ran a check-cashing service,

            known as M  &amp; L Associates ("M &amp; L"), out of a small enclosed



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            area  in the bar.  M  &amp; L charged its customers  a 1% or 1.5%

            commission on each check cashed.  Both Heller's and M &amp; L had

            at least one employee other than London.

                      The  evidence at trial demonstrated that bookmakers

            tended to  frequent Heller's and  to use  M &amp; L  as a  check-

            cashing service.   Sometimes, M  &amp; L cashed  bookmaker checks

            that banks would not  accept.  For example, some  checks were

            neither  made  out  by  nor  payable  to the  bookmakers  (or

            bookmakers' agents)  who were cashing them.  Others were made

            out either to fictitious names or to real persons or entities

            who  were not  to receive  the funds.   London  neither asked

            about the names on the checks he cashed nor required that the

            checks be  endorsed.  And before December 17, 1986 -- the day

            on  which  federal  agents   executed  a  search  warrant  at

            Heller's,  see infra  at  6  --  London  never  filed  a  CTR
                       ___ _____

            notifying the  Internal Revenue  Service ("IRS") of  his many

            currency transactions  involving more  than $10,000.   See 31
                                                                   ___

            U.S.C.    5313(a) (requiring financial institutions to report

            currency  transactions   in  the  manner  prescribed  by  the

            Secretary  of  the Treasury)  and  31  C.F.R.    103.11(i)(3)
                                          ___

            (check-casher  is a  financial institution)  and 31  C.F.R.  
                                                         ___

            103.22(a)(1) (financial institutions must report all currency

            transactions involving more than $10,000 to the IRS). 

                      London's operating  procedures were a  boon to  his

            bookmaker  customers.   Not  only  did  London provide  these



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                                          3















            customers with an immediate and untraceable source of cash to

            pay their various expenses (including gamblers' winnings), he

            enabled  them  to accept  checks  from  their own  customers.

            This, in turn, increased business volume, for the ability  to

            pay  gambling  debts by  check  encouraged  gamblers to  make

            larger and more  frequent bets.  It  also made it easier  for

            out-of-state gamblers  to do business with  local bookmakers,

            and possible  for  some gamblers  to pay  debts with  company

            funds  (and thereby gamble with  money on which  they paid no

            taxes).

                      London's  promotion of bookmaking often took a more

            active form.  In 1986, London operated a bookmaking operation

            with  one Kenny  Miller.   He  also  helped run  one  Dominic

            Isabella's  bookmaking  operation  while  Isabella  was  ill.

            Finally, London acted as a "pay and collect" man for  many of

            his bookmaker customers, making payments to  winning gamblers

            and collecting payments from losers.

                      London also assisted Vincent Ferrara, the leader of

            an  organized   crime  group,  in  collecting  "rent"  (i.e.,

            protection money) from bookmakers.  London identified certain

            of his bookmaker customers to Ferrara, telling him "anybody I

            get  you  get."    London  then  summoned  the  bookmakers to

            Heller's to meet with Ferrara, who demanded that they pay him

            anywhere  from  $500  to  $1000  (or  more)  per   month  for

            "protection" and  help in debt collection.   London collected



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                                          4















            rent  payments and, at least once, passed along a request for

            debt  collection assistance  from  a bookmaker  who had  been

            induced to accept Ferrara's protection.

                      As stated above, London never filed a CTR with  the

            IRS  prior  to  the  execution   of  the  search  warrant  on

            December 17,  1986.     From   December  18,   1986,  through

            December 31, 1988, however, he filed 211 CTR's on behalf of M

            &amp;  L.  Although London  had instructed his  customers to make

            certain that each check was for less than $10,000, London did

            cash  individual checks  that  were in  amounts greater  than

            $10,000.   When  he cashed  a group  of checks  for the  same

            customer, London would often  deposit the checks on different

            days or in  different bank accounts.   There was  testimonial

            evidence tending  to indicate  that London  was aware  of the

            statutory  and regulatory  reporting requirements  during the

            period in which he failed to file any CTRs with the IRS.

            B.  Procedural History
            B.  Procedural History
            ______________________

                      On October 28, 1986,  in response to an application

            and affidavit  made pursuant to an  on-going investigation of

            London,  his businesses,  and  his  associates, the  district

            court issued two orders authorizing the government to conduct

            electronic  surveillance  at  Heller's.     The  first  order

            authorized, for a thirty-day period, the interception of oral

            communications in and adjacent to the enclosed area  in which

            M  &amp; L operated; the second authorized, also for a thirty-day



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                                          5















            period, the  recording of  wire communications made  from two

            telephones  located behind the bar.  In order to minimize the

            interception  of otherwise  non-interceptable communications,

            the court's  orders limited surveillance to  times when named

            targets of the  investigation were on Heller's  premises.  On

            December 3, 1986, the  court extended each of the  orders for

            an  additional  thirty days.    Evidence  derived from  these

            interceptions was introduced against London at trial.

                      On December  17, 1986, federal agents  applied to a

            magistrate  judge for  a warrant  authorizing them  to search

            Heller's for  evidence  of unlawful  gambling,  loansharking,

            distribution of narcotics, money  laundering, and failure  to

            file  CTRs.    The   magistrate  judge  issued  the  warrant,

            authorizing  the  agents  to  search  "Heller's  Cafe,  which

            occupies the first floor and basement of 110 Chestnut Street"

            and to  seize  "books and  records, ledgers,  correspondence,

            notes, slips, checks and  any other documents, including bank

            records,  which  reflect  unlawful   gambling,  loansharking,

            narcotics   distribution,  and   failure  to   file  currency

            transaction  reports;  and  U.S.  currency  which constitutes

            proceeds of these offenses."  The agents executed the warrant

            later that day,  and seized,  inter alia, almost  all of  the
                                          _____ ____

            records found in the enclosed area from which M &amp; L operated.

            Evidence  seized in the course of  this search was introduced

            against London at trial.



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                                          6















                      On April 11, 1990, a federal  grand jury returned a

            two-count indictment charging London with income tax evasion.

            On  May 10, 1990, the  grand jury returned  a fifty-one count

            superseding  indictment charging London with, inter alia, the
                                                          _____ ____

            counts  of conviction:    one count  of  RICO conspiracy,  18

            U.S.C.    1962(d); one count of RICO substantive, 18 U.S.C.  

            1962(c);  twelve  counts of  money  laundering,  18 U.S.C.   

            1956(a)(1); twelve counts of failing to file  CTRs, 31 U.S.C.

                5313(a) and  5322(b); one  count of conspiring  to commit

            extortion,  18  U.S.C.     1951;  two counts  of  aiding  and

            abetting extortion, 18 U.S.C.    2 and 1951; and one count of

            tax evasion  for  tax  year  1985, 26  U.S.C.     7201.    On

            September  5,   1991,  the  grand  jury   returned  a  second

            superseding  indictment which  charged  no  new offenses  but

            brought  the  indictment within  the  purview  of the  United

            States Sentencing  Guidelines by extending the  period of the

            alleged RICO conspiracy to after November 1987.

                      On August  17,  1992,  the  district  court  orally

            denied  London's  previously-filed  motion  to  suppress  the

            evidence  seized  during the  December  17,  1986, search  of

            Heller's.  On  August 18,  1992, the court  issued a  written

            memorandum and order denying London's previously-filed motion

            to suppress the fruits of the electronic surveillance.

                      Trial commenced  on January 4,  1993, and concluded

            on February 19,  1993, when the jury returned guilty verdicts



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                                          7















            on the counts of  conviction listed above.  The  other counts

            contained in  the  second superseding  indictment either  had

            been  dismissed by  the  government prior  to  trial or  were

            dismissed by the district  court at trial.  In  addition, the

            jury acquitted London on one money laundering count.  On June

            30,  1993, the district court sentenced  London.  This appeal

            followed.

                                         II.
                                         II.
                                         ___

                      As  set forth  above, London's  appellate arguments

            fall  into three main groups.  First, London takes issue with

            the district  court's  denial  of  his  suppression  motions.

            Second,  London  challenges  the jury  instructions  given in

            connection  with   the  counts  of  the   second  superseding

            indictment charging  him with failing  to file CTRs.   Third,

            London  makes  sundry arguments  that there  was insufficient

            evidence  to   support   his  money   laundering   and   RICO

            convictions.  We discuss each of London's arguments in turn.

            A.   Denial  of the  Motion  to Suppress  the  Fruits of  the
            A.   Denial  of the  Motion  to Suppress  the  Fruits of  the
            _____________________________________________________________
            Electronic Surveillance
            Electronic Surveillance
            _______________________

                      London  contends that the  district court  erred in

            denying  his motion to suppress  the fruits of the electronic

            surveillance conducted at Heller's in  1986.  He claims  that

            the aforementioned surveillance ran afoul of Title III of the

            Omnibus Crime Control and Safe Streets Act of 1968, 18 U.S.C.

               2510 et  seq. ("Title  III") -- the  federal statute  that
                    __  ____

            governs  electronic surveillance  -- in  five ways:   (1)  no


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                                          8















            Department  of Justice  official  designated in  18 U.S.C.   

            2516(1) had  authorized the  local United States  Attorney to

            apply  for the  initial interception  orders; (2)  the orders

            improperly  allowed the  government to  monitor conversations

            relating to  money laundering, which  was not an  offense for

            which  interception  could  be   ordered,  see  18  U.S.C.   
                                                       ___

            2516(1)(a)-(o), on  the date the interception  orders issued;

            (3)  the  government  intercepted  and  disclosed  extortion-

            related  conversations  --  conversations pertaining  to  the

            paying  of "rent"  to  Ferrara --  beyond  the scope  of  the

            court's  orders; (4)  the  court ordered  and the  government

            employed inadequate minimization procedures under 18 U.S.C.  

            2518(5);  and (5)  the  government's  application misled  the

            district court as to  the necessity for conducting electronic

            surveillance,  in  violation  of  18   U.S.C.     2518(1)(c).

            Because  we are not persuaded  by any of  these arguments, we

            affirm the district court's denial of the suppression motion.



                      1.    Internal  Authorization  under  18  U.S.C.   
                      1.    Internal  Authorization  under  18  U.S.C.   
                      ___________________________________________________

            2516(1)
            2516(1)
            _______

                      Title  III  compels  local  prosecutors  to  obtain

            internal authorization from a  statutorily-designated Justice

            Department   official  prior  to   applying  for  a  judicial

            interception  order.  18 U.S.C.   2516(1).  Failure to comply

            with   this  "central"   provision  of  Title   III  requires



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                                          9















            suppression of the  fruits of the unauthorized  interception.

            United States v. Giordano,  416 U.S. 505, 524-29 (1974).   As
            _____________    ________

            noted,   London  contends   that  the   initial  interception

            application  was not  authorized by  a statutorily-designated

            Justice Department official.  London is mistaken.  

                      The government attached to its initial interception

            application  the  first  page  of  a  two-page  authorization

            memorandum prepared on October 24, 1986, by  William F. Weld,

            then the Justice Department's Assistant Attorney  General for

            the  Criminal  Division, and  the  second page  of  the cover

            letter which  accompanied  the  Weld  memorandum,  which  was

            signed   for  Weld   by  Frederick   D.  Hess,   the  Justice

            Department's Director of the Office of Enforcement Operations

            of the Criminal  Division.  It is undisputed that  Weld was a

            statutorily-designated  official  and  Hess  was   not.    In

            rejecting  London's  suppression motion,  the  district court

            found that  Weld had authorized  the interception application

            (as  the application  had  stated) and  that "the  government

            committed a collating error by providing page one of the Weld

            approval letter  followed by  page two of  a separate  letter

            written  by Hess  to Robert  S. Mueller,  III, Acting  United

            States Attorney for the District of Massachusetts."

                      London  does  not  dispute  the  accuracy   of  the

            district  court's  "collating  error"  finding;  nor  does he

            disagree that  the finding would validate  the application if



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                                          10















            the district court was  empowered to look beyond the  face of

            the  application in  deciding whether  there had  been proper

            authorization.  Relying on United  States v. Chavez, 416 U.S.
                                       ______________    ______

            562 (1974), and United  States v. O'Malley, 764 F.2d  38 (1st
                            ______________    ________

            Cir. 1985),  he instead argues  that the finding  cannot save

            the government's  application because the district  court was

            limited  to  a  "facial  analysis" of  the  authorization  in

            determining  whether  a  statutorily-designated official  had

            approved   the  interception  application.     Even   if  his

            construction of Chavez and  O'Malley is correct (an  issue on
                            ______      ________

            which we  express significant  doubt but no  formal opinion),

            the facial analysis London advocates reveals that Weld -- and

            not Hess -- authorized the interception application.

                      London's argument hinges entirely  on the fact that

            Hess  signed on  behalf  of  Weld  the  second  page  of  the

            miscollated authorizing  papers  that were  attached  to  the

            interception  application.   What  it neglects  to take  into

            account, however, is that  Weld signed the first page,  which
                                       ____

            states at the top  that it is a  memorandum from "William  F.

            Weld,   Assistant   Attorney  General,   Criminal  Division."

            Furthermore, that same first  page clearly indicates that the

            Assistant Attorney General in charge of the Criminal Division

            (i.e., Weld) authorized the application:

                           By virtue of the authority vested in
                      him by  Section 2516 of Title  18, United
                      States  Code, the Attorney General of the
                      United States  has by Order  Number 1088-


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                                          11















                      85,  dated  March  28,   1985,  specially
                      designated the Assistant Attorney General
                      in charge  of  the Criminal  Division  to
                      authorize  applications for  court orders
                      authorizing the interception  of wire  or
                      oral   communication.      As  the   duly
                      appointed  Assistant Attorney  General in
                      charge  of  the  Criminal Division,  this
                      power  is exercisable by  me.  WHEREFORE,
                      acting  under  this  delegated  power,  I
                      hereby   authorize  the   above-described
                      [London]  application to  be made  by any
                      investigative or  law enforcement officer
                      of  the  United   States  as  defined  in
                      Section  2510(7)  of  Title   18,  United
                      States Code.

            Finally, nothing in  the text  of either page  of the  papers

            presented to  the district court even  remotely suggests that

            Hess, and not Weld, authorized the application.  

                      We  therefore  reject  London's  argument  that the

            initial  interception application  was  not authorized  by  a

            statutorily-designated Justice Department official.

                      2.  Interception of Conversations Relating to
                      2.  Interception of Conversations Relating to
                      _____________________________________________
                      Money Laundering
                      Money Laundering
                      ________________

                      Title  III  specifies  the  offenses  for  which an

            interception order  may issue.   18 U.S.C.    2516(1)(a)-(o).

            Money  laundering in  violation of  18 U.S.C.    1956  was so

            specified by  legislation that  became effective  October 27,

            1986.  Pub. L. 99-570, Title I,   1365(c), Oct. 27, 1986, 100

            Stat. 3207-35.   As  noted,  London argues  that the  initial

            interception   orders   authorized   the    interception   of

            conversations relating to money  laundering prior to the date

            on  which money laundering was added to 18 U.S.C.   2516(1)'s



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                                          12















            list  of offenses.    Even if  we  assume arguendo  that  the
                                                      ________

            initial interception orders did authorize the interception of

            conversations relating to money laundering in violation of 18

            U.S.C.      1956  (a  position  with   which  the  government

            forcefully  disagrees  and on  which  we  take no  position),

            London's argument lacks a factual basis.

                       London  claims that  the district  court's initial

            interception orders  issued on  October 24, 1986,  three days

            before money  laundering became a predicate  offense under 18

            U.S.C.     2516(1).   The record  reveals, however,  that the

            initial interception  orders issued on October  28, 1986, not

            October  24, 1986.  Thus, money laundering in violation of 18

            U.S.C.    1956 was an offense for which an interception order
                           ___

            could issue  at the time  of the initial  interception orders

            issued in this case.

                      We  therefore reject  London's  argument  that  the

            initial  interception orders  authorized the  interception of

            conversations  relating to  money laundering  at a  time when

            money laundering was not a predicate  offense under 18 U.S.C.

              2516(1).

                      3.    Interception  and  Disclosure  of  Extortion-
                      3.    Interception  and  Disclosure  of  Extortion-
                      ___________________________________________________

            Related
            Related
            _______
                      Conversations
                      Conversations
                      _____________

                      With  certain exceptions,  Title III  prohibits the

            interception and disclosure of conversations other than those

            relating to  the offenses  specified in the  district court's


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                                          13















            interception order.  See  generally 18 U.S.C.     2511, 2517,
                                 ___  _________

            and  2518(4)(c).  As noted, London argues that the government

            wrongfully  intercepted  and  disclosed   certain  extortion-

            related  conversations  (i.e.,  conversations concerning  the

            paying  of  "rent" to  Ferrara)  despite  the fact  that  the

            district court's initial interception  orders did not specify

            extortion  in violation  of  18 U.S.C.     1951 as  a  target

            offense.  London's claim of governmental overreaching in this

            context is without merit.

                      Unlike  London's first  two arguments,  the instant

            one  is not built upon  a faulty factual  basis; extortion in

            violation of 18 U.S.C.   1951 was not a target offense listed

            in the government's interception applications or the district

            court's interception  orders.  This fact  alone, though, does

            not  make  the  interception  of   the  "rent"  conversations

            unlawful.     Title   III  clearly   contemplates  that   law

            enforcement  officials will,  in  the course  of intercepting

            conversations related to specified target offenses, intercept

            conversations   "relating  to   offenses  other   than  those

            specified in the order of authorization or approval."  See 18
                                                                   ___

            U.S.C.    2517(5).  For example,  an intercepted conversation

            can  relate to both a specified offense and to an unspecified
                                                    ___

            offense.  In  such a situation, the  interception is unlawful

            only  when it  is motivated  by an  illicit purpose  -- e.g.,

            "subterfuge"  interceptions where  the government  applies to



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                                          14















            intercept conversations relating to offenses  specified in 18

            U.S.C.       2516(a)-(o)   while   intending   to   intercept

            conversations  relating to  offenses for  which interceptions

            are unauthorized or  for which  it has no  probable cause  to

            obtain an interception order.   See United States v. Angiulo,
                                            ___ _____________    _______

            847 F.2d 956,980 (1st Cir.), cert.denied, 488 U.S. 852(1988).
                                         ___________

                       Here, the intercepted "rent" conversations clearly

            related to  at  least one  offense  -- operating  a  gambling

            business in violation of 18 U.S.C.   1955 -- specified in the

            initial   authorization  orders.      The  victims   of   the

            rent/extortion scheme  were  bookmakers involved  in  illegal

            gambling, and  the intercepted conversations provided a means

            of   identifying  them.     Moreover,   the  district   court

            supportably found  that there  was no subterfuge  involved in

            the initial interception applications.  See Angiulo, 847 F.2d
                                                    ___ _______

            at 980 (clear-error reviewing standard applicable  to finding

            that  government's wiretap  application was  not subterfuge).

            Extortion,  after  all, is  an  enumerated  offense under  18

            U.S.C.    2516, and  there would  have been  no need for  the

            government to  engage in subterfuge unless  it suspected that

            extortion  was taking  place  but lacked  the probable  cause

            necessary to intercept conversations pertaining to extortion.

            London makes  no argument along  these lines, and  the record

            does not  suggest this sort  of governmental deception.   The





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                                          15















            government's  interception  of the  "rent"  conversations was

            therefore not unlawful.

                      We still must consider whether the government acted

            unlawfully  in disclosing  the rent conversations  during the

            proceedings below.  The government argues that the disclosure

            of such  "other offense" evidence  is permissible so  long as

            the information  is  related  to an  offense  listed  in  the

            initial authorization orders.   Cf. United States v. Shields,
                                            ___ _____________    _______

            999 F.2d  1090, 1097 (7th  Cir. 1993) ("Since  the government

            was free to release  this information to a grand  jury anyway

            under the [authorization for the offenses listed in the Title

            III  order], it is difficult  to see how  the defendants were

            harmed when the same  facts were presented in the  context of

            different offenses."),  cert. denied, 115 S.  Ct. 515 (1994).
                                    _____ ______

            We  need not  reach  the merits  of  this argument,  however,

            because we conclude  that the district  judge who issued  the

            initial   interception   orders  impliedly   and  permissibly

            authorized the disclosure of the conversations at issue.

                      Under  18 U.S.C.     2517(5),  the  government  may

            secure  a court's  blessing to  disclose  the contents  of an

            "other  offense" interception  in connection  with a  federal

            prosecution.     The  relevant  statutory  provision  permits

            disclosure when  the  interception has  been  "authorized  or

            approved  by a  judge  of competent  jurisdiction where  such

            judge finds on subsequent  application that the contents were



                                         -16-
                                          16















            otherwise intercepted in  accordance with  the provisions  of

            [Title  III].   Such  application shall  be  made as  soon as

            practicable."     Id.     It   is  settled   that  disclosure
                              ___

            authorization "can be implicitly obtained when a judge grants

            a renewal of a  wiretap after being advised of  the essential

            facts  of  the  unspecified  violation."   United  States  v.
                                                       ______________

            McKinnon,  721  F.2d 19,  23-24 (1st  Cir.  1983).   In other
            ________

            words,  "the  disclosure  in  subsequent  affidavits  to  the

            issuing  judge  of  material  facts  constituting or  clearly

            relating  to  other   offenses  satisfies  the   Government's

            obligation  to seek judicial authorization for the disclosure

            and use  of evidence inadvertently  intercepted."  Id.  at 24
                                                               ___

            (citations and internal quotation marks omitted).

                      As  the district  court found  in denying  London's

            suppression motion, there was implicit  authorization in this

            case.   When  the government  applied for  extensions  of the

            initial  interception orders, its  attached affidavit advised

            the court of interceptions  containing the essential facts of

            the extortion violations:

                      London acts as a  bank and account keeper
                      for  other  bookmaking  and  loansharking
                      operations  .  .   .  .   [Also] London's
                      illegal   businesses,  and   the  illegal
                      businesses  for  which  London keeps  the
                      accounts, only operate  with the  consent
                      and protection of certain  other persons,
                      to   whom   London  and   others   pay  a
                      percentage  of  their  income  .  .  .  .
                      Further   electronic    surveillance   is
                      necessary,   however,  to   identify  the
                      balance   of   the   members    of   each


                                         -17-
                                          17















                      organization and the relationship between
                      London,  these   organizations,  and  the
                      persons  to  whom  `rent'  is   paid,  as
                      discussed below.

            The  attached affidavit  then detailed  London's relationship

            with Ferrara.   Thus, the  court's approval of  the extension

            application constituted  both  an implicit  finding that  the

            extortion-related    conversations   were    intercepted   in

            accordance with  the provisions  of Title III  and permission

            for  the subsequent  disclosure  of the  conversations.   See
                                                                      ___

            McKinnon, 721 F.2d at 23-24.
            ________

                      London complains that the affidavit not only failed

            to seek approval  for subsequent interceptions of  extortion-

            related conversations, but it also failed to  alert the court

            that some of the  intercepted conversations related to "other

            offense"  evidence.   While we  certainly think  it advisable

            that  the government provide issuing courts with this type of

            notice, we  note that it  is not a  sine qua non  of implicit
                                                ____ ___ ___

            authorization.  We presume that the court read the supporting

            affidavit  with care,  and took  seriously its  obligation to

            police the interceptions that were taking place.   We require

            no  more  to infer  implicit authorization.    Cf. id.  at 23
                                                           ___ ___

            (supporting affidavits describing  communications related  to

            other  offenses  sufficient  to  ground  "reasonable  .  .  .

            conclu[sion]"   that  issuing   judge   approved   of   their

            interception);  see also  United States  v. Masciarelli,  558
                            ___ ____  _____________     ___________

            F.2d 1064, 1068  (2d Cir. 1977) ("[W]e presume .  . . that in


                                         -18-
                                          18















            renewing  . . . the tap the judge carefully scrutinized th[e]

            supporting  papers   and   determined  that   the   statute's

            requirements  had been  satisfied.")  (citation and  internal

            quotation marks omitted).

                      We  therefore  reject  London's  argument  that the

            interception   and   disclosure   of  the   extortion-related

            conversations violated Title III.







































                                         -19-
                                          19















                      4.  Minimization under 18 U.S.C.   2518(5)
                      4.  Minimization under 18 U.S.C.   2518(5)
                      __________________________________________

                      Title  III  requires  the  government   to  conduct

            electronic surveillance  "in such  a way  as to  minimize the

            interception  of  communications  not  otherwise  subject  to

            interception."  18 U.S.C.    2518(5).  Without specifying any

            wrongfully  intercepted  conversations,  London asserts  that

            there  was  inadequate governmental  minimization  during the

            interceptions  at  Heller's.   Although London's  argument on

            this  issue is  a  bit disjointed,  two alleged  inadequacies

            emerge  from  his brief:   (1)  the court's  order permitting

            surveillance whenever a named target was on Heller's premises

            (instead  of   a  more   restrictive  order);  and   (2)  the

            government's  policy of  recording all  conversations carried

            out  in  Spanish  unless  and until  a  bilingual  agent  was

            available   to   make  minimization   decisions.      In  the

            circumstances of this  case, we  see no error  in either  the

            court's   order   or   the   government's   policy  regarding

            communications in Spanish.

                      In assessing whether the  government's minimization

            efforts pass muster  under 18  U.S.C.   2518(5),  we make  an

            objective assessment in light  of the facts and circumstances

            known to the government at the  relevant points in time.  See
                                                                      ___

            Scott  v. United States, 436  U.S. 128, 136-37  (1978).  When
            _____     _____________

            making  this assessment, we tend  to focus on  (1) the nature

            and complexity of the  suspected crimes; (2) the thoroughness



                                         -20-
                                          20















            of the government's precautions to  bring about minimization;

            and  (3)   the  degree  of  judicial   supervision  over  the

            surveillance process.  United States  v. Uribe, 890 F.2d 554,
                                   _____________     _____

            557  (1st Cir. 1989); Angiulo, 847 F.2d  at 979.  We also are
                                  _______

            mindful that Title  III "does not forbid  the interception of

            all  nonrelevant  conversations,  but  rather  instructs  the

            agents to conduct  the surveillance  in such a  manner as  to

            `minimize' the interception  of such conversations."   Scott,
                                                                   _____

            436 U.S. at 140.   This means that "[t]he government is  held

            to a standard  of honest  effort; perfection  is usually  not

            attainable, and  is certainly not legally  required."  Uribe,
                                                                   _____

            890 F.2d at 557.

                      London's  minimization arguments  do not  call into

            question  any  specified  acts of  the  intercepting  agents;

            instead, they  implicate the  thoroughness of certain  of the

            court's and government's minimization precautions.   In other

            words,  they amount  to claims  that an  implicit requirement

            allegedly imposed on the  government by Uribe and Angiulo  --
                                                    _____     _______

            that the government's precautions to bring about minimization
                                  ___________

            be sufficiently "thorough"  to pass muster under 18  U.S.C.  

            2518(5)   --  has  not  been  met  in  this  case,  and  that

            suppression   of   all  intercepted   conversations   is  the

            appropriate remedy.   Even if we assume  arguendo that London
                                                     ________

            can win  total suppression without  challenging the propriety





                                         -21-
                                          21















            of  any  particular interceptions,  we  see no  merit  in his

            arguments.  

                      London  characterizes  as insufficient  the court's

            "targeted individual must be on the premises" limitation by 













































                                         -22-
                                          22















            stating:

                      Perhaps, an undercover agent acting  as a
                      patron, could [have]  signal[led] when  a
                      target  was  talking   on  a   particular
                      telephone  or near  one of  the bugs  and
                      thereby  minimize[d]  the intrusion  into
                      the    privacy   of    innocent   persons
                      conversing at other  locations.   Perhaps
                      monitoring   agents   could   have   been
                      directed  to  cease  monitoring   at  any
                      device  when a  target  was not  heard on
                      that device.

            He has not,  however, effectively  rebutted the  government's

            colorful assertion,  made both to  the district court  and on

            appeal,  that "had  an undercover  agent remained  inside the

            small, intimate .  . . Heller's Cafe to relay  a signal every

            time a target spoke into  a surveillance device, London would

            have identified  him as quickly as Ali Baba in his cave would

            have  spotted a  spy among  his chosen  forty."   Nor has  he

            rebutted the government's  sworn assertion that "agents  were

            instructed to  and did cease monitoring  when they determined

            that none of the  targets was a party to [a]  conversation or

            that only personal, non-criminal activity was discussed."  In

            our view, the former of these two assertions is sufficient to

            respond to London's  argument that there should have  been an

            undercover agent inside Heller's,  and the latter effectively

            undermines  any  suggestion that  the monitoring  agents were

            free  to  listen  in  on the  conversations  of  non-targeted

            individuals.





                                         -23-
                                          23















                      London's  challenge  to  the   government's  policy

            regarding  Spanish  conversations  is  answered  more easily:

            when an  interpreter is  not reasonably available,  Title III

            explicitly   allows   full-scale  recording   and   post  hoc
                                                                ____  ___

            minimization   of  conversations   carried  out   in  foreign

            languages.   See  18  U.S.C.    2518(5)  ("In the  event  the
                         ___

            intercepted communication  is in a code  or foreign language,

            and  an  expert  in that  foreign  language  or  code is  not

            reasonably   available   during   the  interception   period,

            minimization may be accomplished as soon as practicable after

            such  interception.").   Although the  above-quoted statutory

            provision  was  not   yet  effective  at  the   time  of  the

            interceptions  here  at issue  (it  was passed  prior  to the

            interceptions but went into effect thereafter), its existence

            as  pending legislation  renders  objectively reasonable  the

            government's  policy  --  which  tracked  the legislation  --

            regarding intercepted conversations carried out in Spanish.

                      This was a  complex case involving  a sophisticated

            defendant,  complicated  financial  dealings,  and  links  to

            organized crime.  In view of this, we  cannot say that either

            the  complained-of  minimization  precautions  or  the  other

            minimization precautions  ordered by  the court and  taken by

            the  government were  so  lacking in  thoroughness that  they

            violated Title III. 





                                         -24-
                                          24















                      We    therefore   reject    London's   minimization

            arguments.

                      5.  Necessity under 18 U.S.C.   2518(1)(c)
                      5.  Necessity under 18 U.S.C.   2518(1)(c)
                      __________________________________________

                      Title   III   dictates   that    the   government's

            interception   application  include  "a   full  and  complete

            statement as to whether or not other investigative procedures

            have been tried and  failed or why they reasonably  appear to

            be unlikely  to succeed if tried or to be too dangerous."  18

            U.S.C.    2518(1)(c).   We have interpreted  this "necessity"

            provision to mean that  the statement should demonstrate that

            the government has  made "a reasonable, good faith  effort to

            run  the gamut  of  normal  investigative  procedures  before

            resorting to means so intrusive as electronic interception of

            telephone calls."   United States v. Hoffman,  832 F.2d 1299,
                                _____________    _______

            1306-07 (1st Cir. 1987).  London argues that the government's

            application misled the  court as to  the need for  electronic

            surveillance by  failing to  mention that the  government had

            not engaged  in the following investigative  techniques:  (1)

            subpoenaing   London's  bank   records;  (2)   utilizing  two

            confidential informants -- Francis  McIntyre and John DeMarco

            --  allegedly available  to  it; and  (3) placing  undercover

            agents  inside   of  Heller's.    London's   claims  are  not

            convincing.

                      The  first   and  third  of   London's  claims  are

            difficult  to  fathom,  as  the  affidavit  attached  to  the



                                         -25-
                                          25















            interception application indicated  both that the  government

            did  review  London's  bank  records  (during   an  unrelated
            ___

            investigation) prior to applying for the interception  orders

            and  that undercover  infiltration was not  available because

            "surveillance observations  have disclosed  a high degree  of

            consciousness by London and others to the possibility  of law

            enforcement scrutiny" and because  London "requires two known

            references prior  to engaging in illegal  transactions with a

            person."   Other  than  making the  general and  unpersuasive

            argument that "visual surveillance by undercover agents"  was
                                                                      ___

            possible because Heller's "was fully accessible to the public

            eye" and had no "back rooms," London has not taken issue with

            the  affidavit statements.   See  supra at  21 (noting,  in a
                                         ___  _____

            different context, London's failure to rebut the government's

            explanation  why   undercover  agents  could   not  insinuate

            themselves  into  Heller's).     And  he  certainly  has  not

            explained how  the affidavit statements  themselves may  have

            been misleading.   We consequently  see no factual  basis for

            London's first and third claims. 

                      As to  the claim  that the  government misleadingly

            failed to  disclose the availability of  McIntyre and DeMarco

            as  informants, London  has not even  attempted to  rebut, by

            pointing to contrary evidence, the district  court's findings

            that, at the time of the initial application,  the government

            reasonably believed  (1)  that  McIntyre  would  not  testify



                                         -26-
                                          26















            against  London;  and   (2)  that  DeMarco's   "investigatory

            potential  . .  . [was]  immaterial  to the  investigation at

            Heller's."   In  light  of this,  we  cannot say  that  these

            findings  are  clearly  erroneous.    See  United  States  v.
                                                  ___  ______________

            Schiavo, 29 F.3d  6, 8 (1st Cir. 1994) (findings of fact made
            _______

            after suppression hearing reviewed for clear error).  And the

            findings  plainly  undermine  London's  contention  that  the

            failure   to  disclose   McIntyre's  and   DeMarco's  alleged

            investigatory potential violated 18 U.S.C.   2815(1)(c).

                      We  therefore reject  London's  argument  that  the

            government  misled the  district court  as to  necessity when

            applying for the initial interception orders.

            B.   Denial  of the  Motion to  Suppress the  Evidence Seized
            B.   Denial  of the  Motion to  Suppress the  Evidence Seized
            _____________________________________________________________

            During
            During
            ______
            the December 17, 1986, Search of Heller's
            the December 17, 1986, Search of Heller's
            _________________________________________

                      London  argues  that  the district  court  erred in

            denying his  motion to suppress the  evidence seized pursuant

            to  the December 17, 1986, search of Heller's -- i.e., almost

            all  of M&amp;L's  business  records, some  of Heller's  business

            records,  and a significant amount of cash on the premises of

            Heller's that  day.  He  characterizes as  unconstitutionally

            overbroad the  warrant's description  of items to  be seized:

            "books  and records,  ledgers, correspondence,  notes, slips,

            checks and any other documents, including bank records, which

            reflect    unlawful    gambling,   loansharking,    narcotics

            distribution,  and  failure   to  file  currency  transaction


                                         -27-
                                          27















            reports;  and  U.S. currency  which  constitutes  proceeds of

            these offenses."    He also  argues  that the  officials  who

            executed  the  search  could  not have  held  an  objectively

            reasonable belief  that the overbroad language  in the search

            warrant  was constitutional.   Because  we disagree  with the

            latter of London's two arguments, we repudiate his assignment

            of errorwithout assessingthe constitutionality ofthe warrant.

                      It is well settled that "suppression is appropriate

            only if  the officers were dishonest or reckless in preparing

            [the  warrant]  affidavit  or  could  not  have  harbored  an

            objectively  reasonable belief  in the existence  of probable

            cause."  United  States v.  Leon, 468 U.S.  897, 926  (1984).
                     ______________     ____

            Here,  London  has  not  challenged the  preparation  of  the

            warrant  affidavit, identified any  documents which allegedly

            were  seized  without  probable  cause, or  argued  that  the

            executing agents exceeded  the warrant's scope.   Nor has  he

            asserted that there was an absence of probable cause for some
                                                                     ____

            sort  of warrant  to  have issued.    Assuming arguendo  that
            ____                                           ________

            London might still be  entitled to suppression without having

            made any of  these arguments, our inquiry reduces  to whether

            the  description  of  items  to be  seized  was  so  facially

            defective that an  objectively reasonable officer would  have

            known of the warrant's  unconstitutionality.  We hardly think

            so.





                                         -28-
                                          28















                      Even if the description of items to be seized might

            have been more particular, it was not patently overbroad when

            viewed  in  context.    London operated  a  complex  criminal

            enterprise  where  he   mingled  "innocent"  documents   with

            apparently-innocent  documents  which, in  fact, memorialized

            illegal   transactions.     London   also  intermingled   his

            legitimately-obtained and innocently-obtained  currency.   It

            therefore would have been  difficult for the magistrate judge

            to be more limiting  in phrasing the warrant's language,  and

            for the executing  officers to have  been more discerning  in

            determining what to seize.  In similar circumstances, we have

            stated: 

                      We must . . . recognize that the inherent
                      difficulty  in  segregating  "good"  from
                      "bad"   records,   and  consequently   in
                      drawing up an adequately limited warrant,
                      makes it difficult  for even a reasonably
                      well-trained officer, who is not expected
                      to be a legal technician and  is entitled
                      to rely on  the greater sophistication of
                      the magistrate -- to know precisely where
                      to draw the line.

            United  States v.  Diaz,  841  F.2d  1,  6  (1st  Cir.  1988)
            ______________     ____

            (overturning a suppression order based on an overbroad search

            warrant).  Like Diaz, the question whether the description of
                            ____

            items to  be seized was unconstitutionally  overbroad was, at

            best,  close,  and  the executing  officers  were objectively

            reasonable  in deferring  to the  magistrate judge's  trained

            judgment.




                                         -29-
                                          29















                      We therefore reject London's argument  that all the

            evidence  seized  during the  December  17,  1986, search  of

            Heller's should have been suppressed.

            C.  Jury Instructions Regarding London's Failure to File CTRs
            C.  Jury Instructions Regarding London's Failure to File CTRs
            _____________________________________________________________

                      London argues that we should vacate his convictions

            for  failing   to  file  CTRs  because   the  district  court

            erroneously informed the jury  that London could be convicted

            of the "willful" violation proscribed by 31  U.S.C.   5322(b)

            if he had  merely a  reckless disregard of  his legal  duties

            regarding  the  filing of  CTRs.   The  government  takes the

            position  that  the court's  instructions  were incorrect  in

            light  of Ratzlaf  v. United  States, 114  S. Ct.  655 (1994)
                      _______     ______________

            (knowledge of the illegality of one's actions is necessary to

            sustain  a  conviction  under  31  U.S.C.     5322)  (illegal

            structuring case), an  opinion issued  after London's  trial,

            but points to  London's failure to  object and contends  that

            the instructions do not constitute plain error  under Fed. R.

            Crim. P. 52(b) (defects  not brought to the attention  of the

            trial court reviewed for plain error).   London counters that

            his failure to  object cannot be considered a  waiver because

            the  instructions were  in complete  accord with  an en  banc
                                                                 __  ____

            decision of this court  -- United States v. Aversa,  984 F.2d
                                       _____________    ______

            493  (1st Cir.  1993) (en  banc) (illegal  structuring case),
                                   __  ____

            vacated, 114 S. Ct. 873 (1994) -- that had been handed down a
            _______

            mere one month prior to the jury instructions in this case.  



                                         -30-
                                          30















                      Before  addressing  the issue  of  waiver,  we must

            inquire  whether the present  law of the  circuit precludes a

            determination  of  error  even   if  London  has  not  waived

            objection to the instructions.  In a recent decision, another

            panel of  this court  expressed doubt  as to  whether Ratzlaf
                                                                  _______

            overruled Aversa's alternative  reckless disregard  standard.
                      ______

            See  United States  v. Saccoccia,  Nos. 93-1511/1560-63/1616-
            ___  _____________     _________

            17/2206-07 and 94-1388/1507-08, slip op. at 27 (1st Cir. July

            24, 1995).   But this  comment was only  dictum.  It  was not

            necessary  to   the  Saccoccia  panel's   finding  that   the
                                 _________

            instruction   challenged  in   that  case  was   not  plainly
                                                                  _______

            erroneous.  Id.  at 26-27 (noting the  defendant's failure to
                        ___

            object).   Nor  was it implicitly  or explicitly  relied upon

            when the panel held  the evidence sufficient for the  jury to

            have  found   that  the  defendants  "knew   that  their  own

            activities  were  unlawful."   Id.  at 32-33.    The reckless
                                           ___

            disregard standard therefore played  no role in the Saccoccia
                                                                _________

            court's holding.  We therefore feel that the question whether
                    _______

            Ratzlaf  has  impliedly  left untouched  or  overruled Aversa
            _______                                                ______

            remains to be decided--if the issue has not been waived.

                      Addressing  the  waiver   issue  we  conclude  that

            London's   failure   to  object   was  excusable   under  the

            circumstances  of this  case.   The  government argues  that,

            despite the  recency of the  Aversa decision and  the overall
                                         ______

            state of the law at the time of his trial,  London has waived



                                         -31-
                                          31















            any   argument  that  the  aforementioned  instructions  were

            erroneous.   While acknowledging  that waiver should  not "be

            inferred, and  no plain error requirement  imposed, where [a]

            Supreme  Court[] ruling comes out  of the blue  and could not

            have been anticipated,"  see United States v.  Weiner, 3 F.3d
                                     ___ _____________     ______

            17,  24 n.5 (1st Cir. 1993), the government contends that the

            split  between  this and  the other  ten  circuits as  to the

            meaning of willfulness under 31 U.S.C.   5322 "made it likely

            that  the issue would be  resolved by the  Supreme Court" and

            made it incumbent upon  London to lodge an objection.   In so

            doing, the government relies on our recent decision in United
                                                                   ______

            States v. Marder, 48 F.3d 564 (1st Cir.) (illegal structuring
            ______    ______

            case),  cert.  denied,  115  S.  Ct.  1441  (1995),  where we
                    _____  ______

            indicated that  defendant Marder's failure  to object to  a  

            5322  willfulness  instruction  given  prior to  Ratzlaf  was
                                                             _______

            inexcusable.  Id.  at 572 n.5.   Marder is not  on-point, and
                          ___                ______

            the government's argument is not persuasive.

                      As an initial matter, Marder's trial occurred prior

            to our decision  in Aversa.   Thus,  the compelling  scenario
                                ______

            presented here -- instructions  mirroring exactly the holding

            of  a recent en banc opinion of the controlling circuit court
                         __ ____

            --  did not exist in  that case.   More importantly, however,

            Marder's   trial   judge,   without  objection,   erroneously

            instructed the jury in  accordance with the law in  the other

            circuits  (i.e., that knowledge of the reporting requirements



                                         -32-
                                          32















            was all that  was needed  to establish  willfulness under  31

            U.S.C.   5322) despite (1) the existence of authority in this
                                                                     ____

            circuit indicating that knowledge of illegality was necessary

            to establish willfulness under   5322, see Marder, 48 F.3d at
                                                   ___ ______

            572 n.5 (citing Bank of New  England, 821 F.2d 844, 854  (1st
                            ____________________

            Cir.), cert. denied 484 U.S. 943 (1987))); and (2) our recent
                   _____ ______

            withdrawal of an  on-point panel opinion and decision to hear

            the  Aversa  case  en  banc,  see  id.    In  view  of  these
                 ______        __  ____   ___  ___

            circumstances, which  should have  put Marder on  notice that

              5322's  willfulness criterion for illegal structuring might

            imply  something  more   than  knowledge  of   the  reporting

            requirements,  we  deemed  inexcusable  Marder's  failure  to

            object to  the defective  instructions.   Id.   We  therefore
                                                      ___

            reviewed the instructions only for plain error.  Id.
                                                             ___

                      The situation  presented in  this case is  in stark

            contrast to that in Marder.  As we have explained, the law of
                                ______

            this circuit was settled by nothing less  than a newly-minted

            en  banc  opinion  at the  time  the  trial  judge instructed
            __  ____

            London's  jury.  This fact alone goes  a long way, if not the

            whole  way,  towards  excusing London's  failure  to  object.

            Moreover, at this same time, all eleven circuits had at least

            implicitly  indicated  that  a  reckless disregard  of  legal

            duties  regarding  the  filing  of  CTRs  was  sufficient  to

            establish  willfulness under 31 U.S.C.    5322.  See Ratzlaf,
                                                             ___ _______

            114 S. Ct.  at 665 n.3  (Blackmun, J., dissenting)  (pointing



                                         -33-
                                          33















            out the  near-uniformity in the circuits  that mere knowledge

            of   the  reporting  requirements   is  enough  to  establish

            willfulness under    5322, and  stating "[t]he only  Court of

            Appeals  to  adopt a  contrary  interpretation  is the  First

            Circuit,  and even  that court  allows reckless  disregard of

            one's legal  duty to  support a conviction  for structuring")

            (citation    and    internal   quotation    marks   omitted).

            Consequently,  if  we conclude  that Ratzlaf  implicitly held
                                                 _______

            that  a reckless  disregard of  one's legal duties  under the

            reporting requirements is not enough to establish willfulness

            under   5322,  such a holding would be precisely  the type of

            unanticipated,  "out of  the  blue" Supreme  Court ruling  we

            alluded  to  in Weiner.   We  therefore  must proceed  to our
                            ______

            interpretation of the scope of Ratzlaf.
                                           _______

                      In Ratzlaf the trial court instructed the jury that
                         _______

            it  could convict  even  if it  found  the defendant  had  no

            knowledge of the anti-structuring  statute but acted with the

            purpose of circumventing a  bank's reporting obligation.  The

            Court stated:

                      We    hold    that   the    "willfulness"
                      requirement mandates something more.   To
                      establish  that  a  defendant  "willfully
                      violated"  the  antistructuring law,  the
                      Government must prove that  the defendant
                      acted with knowledge that his conduct was
                      unlawful.

            114 S. Ct. at 656.





                                         -34-
                                          34















                      In  Aversa,  an  en  banc decision,  we  held  that
                          ______

            "reckless disregard"  of  the law  satisfied the  willfulness

            requirements of  the structuring statute.   984 F.2d  at 502.

            In  light of Ratzlaf, Aversa remains law in this circuit only
                         _______  ______

            if  reckless disregard  falls  within  Ratzlaf's  concept  of
                                                   _______

            "knowledge."

                      As we  survey post-Ratzlaf law in  the circuits, we
                                         _______

            find  one circuit which  has adopted the  standard of "actual

            knowledge."  United States  v. Retos, 25 F.3d 1220,  1230 (3d
                         _____________     _____

            Cir. 1994).  Other circuits -- none of whom, pre-Ratzlaf, had
                                                             _______

            required  any knowledge  of structuring  laws --  have simply

            echoed  Ratzlaf's requirement  of  "knowledge."   We are  not
                    _______

            helped by  these decisions, for we face  a different problem:

            having previously articulated a  standard which posed what we

            deemed essentially an  equivalent to "knowledge," and  which,

            while  recognized  in  Ratzlaf,  was  neither   embraced  nor
                                   _______

            disavowed, shall we proclaim it now alive or dead?

                      In short, when should  we apply the literal meaning

            of  a word  used in  a Supreme  Court decision  to  a generic

            circumstance that  was not  in controversy before  the Court?

            We begin with the general advice of Chief Justice Marshall in

            Cohens v. Virginia, 6 Wheaton (19 U.S.) 264, 399-400 (1821):
            ______    ________

                           It   is   a   maxim,   not   to   be
                      disregarded, that general expressions, in
                      every  opinion,   are  to  be   taken  in
                      connection  with the case  in which those
                      expressions  are used.  If they go beyond
                      the  case,  they  may be  respected,  but


                                         -35-
                                          35















                      ought not to  control the  judgment in  a
                      subsequent  suit when  the very  point is
                      presented for decision.

                      An  application  of  this  maxim,  relevant  to the

            instant case, occurred in  Armour &amp; Co. v. Wantock,  323 U.S.
                                       ____________    _______

            126, 132-34  (1944), where,  notwithstanding a definition  of

            "work"  in a prior Fair Labor Standards Act case as "physical
                                                                 ________

            or  mental exertion  .  . .  controlled  or required  by  the
            ___________________

            employer," the  Court, through  Justice Jackson, held  that a

            company's private firefighters' idle or recreational  time on

            duty constituted working time.  Justice Jackson explained:

                      [W]ords of our opinions are to be read in
                      the light of the  facts of the case under
                      discussion.    To  keep  opinions  within
                      reasonable bounds  precludes writing into
                      them every limitation or  variation which
                      might be suggested  by the  circumstances
                      of cases  not before the Court.   General
                      expressions transposed to other facts are
                      often misleading.  

            Id. at 133;  see also Reiter v. Sonotone Corp., 442 U.S. 330,
            ___          ___ ____ ______    ______________

            341 (1979) (refusal to limit "business or  property," as used

            in     4  of   Clayton  Act,  to  "commercial  interests   or

            enterprises," though so defined in prior Court opinion).

                      These  and other  such  cases  reflect the  Court's

            acknowledgement  that "[p]rudence  also  dictates awaiting  a

            case in which the issue was fully litigated below, so that we

            will have  the benefit of  developed arguments on  both sides

            and lower  court opinions squarely  addressing the question."

            Yee v. Escondido,  503 U.S.  519, 538 (1992).   Our  position
            ___    _________



                                         -36-
                                          36















            naturally follows:  "[W]e do not  normally take Supreme Court

            opinions to  contain holdings  on matters the  Court did  not

            discuss  and which,  presumably, the  parties did  not argue.

            Sweeney  v. Westvaco  Co., 926  F.2d 29,  40 (1st  Cir. 1991)
            _______     _____________

            (Breyer, C.J.) (citing Cousins v. Secretary of the U.S. Dep't
                                   _______    ___________________________

            of Transp., 880 F.2d  603, 608 (1st Cir. 1989) (en banc)).
            __________

                      We  therefore adopt  a restrained  role.   While we

            might, if  writing  on a  clean slate,  accept the  narrowest

            interpretation  of "knowledge," we  will not  easily conclude

            that the Court has  rejected our prior decision  by ambiguous

            inference  or opaque implication.   We would  require a clear

            signal.

                      We now  look for  signals.   The  case for  "actual

            knowledge"   is  the   word  itself   --  expressing   direct

            acquaintance  with a fact.  This has the virtue of simplicity

            in formulating instructions  to a  jury.  We  note, too,  the

            fact  that the prosecution  in our  case conceded  error, but

            this does not relieve us of  our obligation to make a de novo

            decision.  We do take cognizance that in Ratzlaf, the Court's
                                                     _______

            references to Aversa  were on points other than  the equation
                          ______

            of reckless disregard and knowledge-willfulness.  And we also

            take  note  of  the  majority's  failure  to  respond  to the

            dissent's  charge  that  the  Court's  decision repealed  the

            "reckless disregard" standard of Aversa.
                                             ______





                                         -37-
                                          37















                      Looking  for contrary  indications, we  note first,

            that  the  referent   used  most  often  by  the   Court  was

            "knowledge."   "Actual  knowledge" was  used by  the majority

            only  once,  in a  parenthetical  reference to  a  1980 Fifth

            Circuit case.   114  S. Ct. at  660 (citing United  States v.
                                                        ______________

            Warren, 612 F.2d  887 (5th Cir. 1980)).   On the other  hand,
            ______

            Ratzlaf  cites to a number of other cases requiring less than
            _______

            actual knowledge.  See, e.g., id. (citing cases demonstrating
                               ___  ____  ___

            the use of reasonable inferences to find knowledge).

                      Moreover, we find  a generally favorable  reference

            to  Aversa  as  the  only  case  opposed  to  a  no-knowledge
                ______

            requirement   -- and, while  a footnote quoted  our "reckless

            disregard"  standard along  with  "knowledge,"  there was  no

            adverse comment or caveat.  See id.  We do not ascribe to the
                                        ___ ___

            majority's  failure to take up the  gauntlet on the dissent's

            thrust on Aversa as deliberate decision making.
                      ______

                      But beyond comments in  the Court's opinion, we are

            mindful of  the wider scope given  definitions of "knowledge"

            in  cases and statutes.   For example, the  cases applying 18

            U.S.C.    656 (bank  officer who "willfully  misapplies" bank

            funds) have  generally held  reckless disregard  to establish

            the requisite intent to defraud.1  These holdings come  close

                                
            ____________________

            1.  We have  so held in United  States v. Cyr, 712  F.2d 729,
                                    ______________    ___
            732 (1st Cir. 1983), and in United States v. Fusaro, 708 F.2d
                                        _____________    ______
            17,  21 (1st  Cir. 1983).   Other  circuits equate  intent to
            injure  the  bank  with  reckless  disregard  of  the  bank's
            interest.   See, e.g., United States v. Hoffman, 918 F.2d 44,
                        _________  _____________    _______

                                         -38-
                                          38















            to  equating,  if  not  precisely  doing  so,  knowledge  and

            reckless disregard.  We  can make the same comment  about the

            Supreme Court precedents equating the two concepts in various

            federal statutes.   See McLaughlin v. Richland  Shoe Co., 486
                                ___ __________    _________________

            U.S.  128,  133  (1988)   ("willfulness"  under  Fair   Labor

            Standards Act means defendant "either knew or showed reckless

            disregard  for   the  matter  of  whether   its  conduct  was

            prohibited by the statute"); Transworld Airlines v. Thurston,
                                         ___________________    ________

            469  U.S.   111,   126  (1985)   ("willfulness"   under   Age

            Discrimination in Employment  Act; same definition  applied);

            United  States   v.  Murdock,   290  U.S.  389,   395  (1933)
            ______________       _______

            ("willfulness" under the Revenue Acts of 1926 and 1928, which

            prohibited  a  "willful" failure  to  pay  a particular  tax,

            included "careless disregard  [for] whether or not  one has a

            right so to act.")

                      In  the context  of  the False  Statements Act,  18

            U.S.C.     1001,  a  false  statement  is made  knowingly  if

            defendant demonstrated  a reckless  disregard  of the  truth,

            with a conscious purpose to avoid learning the truth.  United
                                                                   ______

            States v. White, 765 F.2d 1469, 1482 (11th Cir. 1985); United
            ______    _____                                        ______

            States  v. Evans,  559  F.2d 244,  246  (5th Cir.  1977).   A
            ______     _____

            statutory  equating  of knowledge  and reckless  disregard is

            found in the  definitions contained in the  False Claims Act,

                                
            ____________________

            46 (6th Cir. 1990);  United States v. Hansen, 701  F.2d 1215,
                                 _____________    ______
            1218 (7th Cir. 1983); United States v. Thomas, 610 F.2d 1166,
                                  _____________    ______
            1174 (3d Cir. 1979).

                                         -39-
                                          39















            31 U.S.C.   3729,  which prohibits  "knowingly" presenting  a

            false or  fraudulent claim  to the United  States Government.

            The  definitions  of "knowing"  and  "knowingly"  apply to  a

            person who,  with respect  to information, "acts  in reckless

            disregard  of the truth or falsity of the information, and no

            proof  of specific intent to defraud is required."  31 U.S.C.

              3729(b)(3).

                      There are also state cases  involving fraud actions

            where knowledge  of falsity is equated  with "utter disregard

            and recklessness."  Singh v. Singh, 611 N.E.2d 347, 350 (Ohio
                                _____    _____

            App. 1992); see  also James  v. Goldberg, 261  A.2d 753,  758
                        ___  ____ _____     ________

            (Md. 1970)("reckless indifference" can impute knowledge).

                      Beyond these instances of the elastic boundaries of

            "knowledge,"  we are  sensible of  the practical  problems of

            drawing too  fine a line.   We have accepted the  fact that a

            jury  "could  infer  knowledge  if  a  defendant  consciously

            avoided learning  about the reporting  requirements."  United
                                                                   ______

            States v. Bank  of New England, N.A., 821  F.2d 844, 855 (1st
            ______    __________________________

            Cir.  1987) also cited with approval in Ratzlaf, 114 S.Ct. at
                        ____ _____ ____ ________ __ _______

            663 n.19.   But reckless disregard also, as  the instructions

            in this case  stated, "involves the conscious  disregard of a

            substantial  risk."  To this  the court below  added that the

            jury "may consider the frequency with which the defendant was

            involved in transactions which  might be reportable . .  . ."

            When we carefully scrutinize these instructions and note that



                                         -40-
                                          40















            not  merely  the concept  of  recklessness  is involved,  but

            reckless disregard, we must acknowledge that the instructions

            require  some  kind  of an  awareness  of  law  which is  not

            casually or negligently but recklessly disregarded.

                      So,  while  we  sympathize  with  those  who  would

            interpret Ratzlaf  as requiring  actual knowledge, we  do not
                      _______

            see such a clear  signal as would  cause us to pronounce  the

            demise  of  Aversa.    We  hold  that  the  district  court's
                        ______

            instruction  was a  correct  application of  Aversa, and  not
                                                         ______

            error under Ratzlaf.
                        _______

            We, therefore,  affirm London's  convictions  for failing  to

            file CTRs.

            D.   Sufficiency of the  Evidence as to  the Money Laundering
            D.   Sufficiency of the  Evidence as to  the Money Laundering
            _____________________________________________________________

            and
            and
            ___
            RICO Counts
            RICO Counts
            ___________

                      London asserts that there was insufficient evidence

            to support  his money laundering  and RICO convictions.   His

            sufficiency  arguments   are  threefold:     (1)   there  was

            insufficient evidence that he laundered money with the intent

            to  promote  illegal  gambling;  (2)  there was  insufficient

            evidence that  the enterprise  alleged in the  indictment was

            cognizable   under  RICO;  and  (3)  there  was  insufficient

            evidence  of a  nexus  between the  RICO  enterprise and  the

            racketeering acts  involving extortion and the  collection of

            illegal debts.  Our  review of the record persuades us that a

            rational jury drawing  reasonable inferences could have  made


                                         -41-
                                          41















            the  challenged findings  beyond  a reasonable  doubt.   See,
                                                                     ___

            e.g.,   United States v.  Tuesta-Toro, 29 F.3d  771, 776 (1st
            ____    _____________     ___________

            Cir. 1994) (setting forth  standard of review for sufficiency

            challenges), cert. denied, 115 S. Ct. 947 (1995).
                         _____ ______

                      1.  Money Laundering
                      1.  Money Laundering
                      ____________________

                      The money laundering statute under which London was

            convicted  subjects  to  criminal   sanctions  "[w]ho[m]ever,

            knowing that the property involved in a financial transaction

            represents the  proceeds of  some form of  unlawful activity,

            conducts or attempts to  conduct such a financial transaction

            which  in fact  involves the  proceeds of  specified unlawful

            activity . . . with the  intent to promote the carrying on of
                           ____ ___  ______ __ _______ ___ ________ __ __

            [the]  specified unlawful  activity."   18  U.S.C.    1956(a)
             ___   _________ ________  ________

            (1)(A)(i)  (emphasis added).   Seizing  upon the  highlighted

            language,  London   contends  that  there   was  insufficient

            evidence that he conducted his check-cashing business with an

            intent to promote the  unspecified unlawful activity at issue

            -- i.e., illegal gambling.  We disagree.

                      There  was overwhelming evidence that London failed

            to file CTRs prior to the December 17, 1986, execution of the

            search  warrant at Heller's, and that London was aware of the

            reporting requirements  during the period in  which he failed

            to  file  CTRs.    There  also  was  evidence  that  London's

            unorthodox  operating  procedures  benefitted  his  bookmaker

            customers.   Finally,  there  was evidence  that London  made



                                         -42-
                                          42















            money with every check  he cashed.  Thus, there  was evidence

            that London knowingly operated  his business in an unorthodox

            manner  that  benefitted  both  his  bookmaker  customers and

            (derivatively) himself.  In our view, this evidence of mutual

            interest is more than sufficient to sustain an inference that

            London operated his check-cashing business with the intent to

            promote the  illegal gambling businesses operated  by certain

            of his customers.

                      We  therefore reject  London's argument  that there

            was  insufficient evidence  to  support his  money laundering

            convictions.

                      2.  The Enterprise
                      2.  The Enterprise
                      __________________

                      The  RICO statute  prohibits  one  "employed by  or

            associated  with"  a  statutorily-defined  "enterprise"  from

            conducting  the  enterprise's affairs  "through a  pattern of

            racketeering activity  or collection  of unlawful debt."   18

            U.S.C.   1962(c).  The  enterprise alleged in the  indictment

            was  an  association  between  London's  Cafe,  Inc.,  d/b/a/

            Heller's   --  a  corporation  --  and  M   &amp;  L  --  a  sole

            proprietorship.     London   questions  whether   there   was

            sufficient  evidence to  sustain a  finding that  the alleged

            enterprise was cognizable under RICO, arguing that (1) a RICO

            enterprise cannot  be an  association of legal  entities; (2)

            the enterprise did not have a "common or shared purpose which

            animates those associated with it" and did not "function as a



                                         -43-
                                          43















            continuing  unit" with  an "ascertainable  structure distinct

            from   that  inherent  in   the  conduct  of   a  pattern  of

            racketeering  activity," see  United  States v.  Bledsoe, 674
                                     ___  ______________     _______

            F.2d 647, 665 (8th  Cir.) (internal quotation marks omitted),

            cert. denied,  459 U.S. 1040  (1982); and (3)  the enterprise
            _____ ______

            was not distinct from  London himself.  We do not  find these

            arguments convincing.

                      London's first argument is legal.  The RICO statute

            states  that the term  "`enterprise' includes any individual,

            partnership, corporation, association, or other legal entity,

            and  any union  or group  of  individuals associated  in fact

            although  not a legal entity."   18 U.S.C.   1961(4).  London

            contends that, under  a plain reading  of this provision,  an

            association-in-fact RICO  enterprise such as the  one alleged

            here  must  be  an  association of  individuals,  and  cannot
                                                ___________

            include legal entities.  

                      London's argument has been addressed to a number of

            circuit  courts, and each has rejected it.  See, e.g., United
                                                        ___  ____  ______

            States v. Console,  13 F.3d  641, 652 (3d  Cir. 1993),  cert.
            ______    _______                                       _____

            denied,  114 S. Ct. 1660 (1994); United States v. Blinder, 10
            ______                           _____________    _______

            F.3d  1468, 1473 (9th Cir.  1993); Atlas Pile  Driving Co. v.
                                               _______________________

            DiCon Fin. Co., 886 F.2d 986, 995 n.7 (8th Cir. 1989); United
            ______________                                         ______

            States v. Perholtz,  842 F.2d 343, 352-53  (D.C. Cir.), cert.
            ______    ________                                      _____

            denied,  488 U.S.  821  (1988).   And we  recently indicated,
            ______

            without explicitly considering the issue, that an association



                                         -44-
                                          44















            between two legal entities and two individuals can constitute

            a RICO enterprise.  See  Libertad v. Welch, 53 F.3d  428, 444
                                ___  ________    _____

            (1st Cir. 1995).   Today we make explicit what  we implied in

            Libertad: two  or more legal entities can  form or be part of
            ________                              ___

            an  association-in-fact   RICO  enterprise.    We  think  the

            Perholtz panel explained why rather well:
            ________

                      [RICO] defines  "enterprise" as including
                                                      _________
                      the various entities specified;  the list
                      of   entities   is   not   meant   to  be
                      exhaustive.    "There  is no  restriction
                      upon  the  associations  embraced by  the
                      definition  . . .  ."   United States  v.
                                              _____________
                      Turkette, 452  U.S. 576, 580  (1981).  On
                      ________
                      the contrary, Congress has  instructed us
                      to  construe  RICO "liberally  .  . .  to
                      effectuate its remedial purposes."   Pub.
                      L.  91-452,   904(a),  84 Stat.  922, 947
                      (1970)  (reprinted  in note  following 18
                               _________  __ ____  _________
                      U.S.C.   1961), quoted  in Turkette,  452
                                      ______  __ ________
                      U.S. at  587; accord Sedima,  S.P.R.L. v.
                                    ______ _________________
                      Imrex  Co., 473 U.S.  479, 497-98 (1985).
                      __________
                      [The]  restrictive interpretation  of the
                      definition of enterprise would contravene
                      this principle of statutory construction.
                           [The restrictive] reading of section
                      1961(4) [also] would  lead to the bizarre
                      result that only criminals who  failed to
                      form  corporate  shells   to  aid   their
                      illicit schemes could be reached by RICO.
                      The  interpretation  hardly accords  with
                      Congress'  remedial  purposes: to  design
                      RICO    as    a   weapon    against   the
                      sophisticated racketeer as  well as  (and
                      perhaps more than) the artless.

            842 F.2d at 343.

                      We  therefore  reject  London's  argument  that  an

            association-in-fact  RICO enterprise  cannot be  comprised of

            legal entities.




                                         -45-
                                          45















                      London's second argument presumes that this circuit

            has adopted the test established in Bledsoe, 674 F.2d at 665,
                                                _______

            and set forth above.  See supra at 40-41.  We have not and do
                                  ___ _____

            not  do  so today,  because even  if  we assume  arguendo the
                                                             ________

            test's applicability,  there was ample evidence  for the jury

            to have found that its requirements were met.

                      The  jury could have found  that there was a common

            or shared  purpose animating both the  enterprise and London:

            doing  commerce with (and  thereby profiting from) bookmakers

            engaged  in illegal gambling.  The evidence that London as an

            individual pursued such a scheme is overwhelming and does not

            need  repeating.   Moreover,  M &amp;  L  and Heller's  were  the

            principal means by  which London effectuated  his plan.   The

            jury reasonably found that London used  M &amp; L to launder (for

            a profit) the proceeds of illegal gambling for  his bookmaker

            customers,  and could  have found  that he  used  the privacy

            afforded by Heller's to shield M &amp;  L from close scrutiny, to

            arrange meetings between Ferrara and his bookmaker customers,

            and to collect "rent" for Ferrara.

                      The jury also could  have found that the enterprise

            functioned  as a  continuing  unit and  had an  ascertainable

            structure  distinct from  that inherent in  the conduct  of a

            pattern  of racketeering activity.  As to the latter of these

            two requirements, M &amp; L and Heller's were legitimate entities

            that did a significant amount of business completely separate



                                         -46-
                                          46















            from the pattern  of racketeering activity  at issue in  this

            case.  Heller's was a bar where drinks and food were sold. 

            M  &amp;  L was  a check-cashing  business  -- located  inside of

            Heller's and operated by the same individual who ran Heller's



            --  that  cashed checks  for customers  willing  to pay  it a

            commission.   As to  the former  requirement, the jury  could

            reasonably  have surmised that M &amp; L and Heller's operated as

            a symbiotic unit (M &amp; L  providing a ready source of cash for

            Heller's customers;  Heller's customers taking advantage of 

            M  &amp; L's  convenience), and  that they  existed for  a common

            purpose:  the economic gain of London.

                      We  therefore reject  London's  argument  that  the

            Bledsoe standard has not been met in this case.
            _______

                      London's third argument derives from  the fact that

            "[w]e have consistently interpreted [RICO's] requirement that

            a  culpable person be  `employed by  or associated  with' the

            RICO  enterprise as  meaning that  the same entity  cannot do

            double  duty  as  both  the  RICO   defendant  and  the  RICO

            enterprise."  Miranda  v. Ponce  Fed. Bank, 948  F.2d 41,  44
                          _______     ________________

            (1st Cir. 1991) (quoting  18 U.S.C.   1962(c)).   He contends

            that he, the  defendant named in  the indictment, is  legally

            indistinguishable from M &amp; L and Heller's.  

                      His argument overlooks the fact that M &amp;  L, though

            a  sole proprietorship, had at  least one employee other than



                                         -47-
                                          47















            himself, and the fact that Heller's  was incorporated and had

            several employees other than himself.  No more is required to

            establish the separateness required by RICO.  As Judge Posner

            explained in responding to a similar argument:

                      If the one-man band incorporates, it gets
                      some legal protections from the corporate
                      form, such  as limited liability;  and it
                      is  just this  sort  of legal  shield for
                      illegal  activity  that  RICO   tries  to
                      pierce.   A one-man  band  that does  not
                      incorporate,  that  merely operates  as a
                      proprietorship,     gains     no    legal
                      protections from the form in which it has
                      chosen to  do business;  the man  and the
                      proprietorship really are the same entity
                      in  law and  fact.   But  if the  man has
                      employees  or associates,  the enterprise
                      is distinct from  him, and it then  makes
                      no difference, so far as we can see, what
                      legal form  the  enterprise takes.    The
                      only important thing is that it be either
                      formally (as when there is incorporation)
                      or practically (as when there  are people
                      besides  the  proprietor  working in  the
                      organization)    separable    from    the
                      individual.

            McCullough v. Suter, 757 F.2d 142, 144 (7th Cir. 1985).
            __________    _____

                      We therefore  reject London's argument that  he and

            the  RICO enterprise  alleged in  the indictment  are legally

            indistinguishable.            














                                         -48-
                                          48















                      3.  Nexus between Enterprise and Racketeering Acts
                      3.  Nexus between Enterprise and Racketeering Acts
                      __________________________________________________
                      Involving Extortion  and the Collection  of Illegal
                      Involving Extortion  and the Collection  of Illegal
                      ___________________________________________________
                      Debt
                      Debt
                      ____

                      London's final argument is  that there was no nexus

            between  the enterprise  and the racketeering  acts involving

            extortion and  the collection  of illegal  debt, and  that we

            therefore must set his  RICO convictions aside.  We  need not

            and do  not reach  this argument.   As we  have pointed  out,

            London's RICO convictions are sustainable  so long as we  can

            tell with certainty that the jury found that he committed two

            sufficient predicate acts.  See supra at 39 (quoting Angiulo,
                                        ___ _____                _______

            897 F.2d at  1198).   Here, the jury  sustainably found  that

            London committed numerous predicate acts of money laundering.

            Thus,  even if there were no nexus between the enterprise and

            the racketeering acts involving  extortion and the collection

            of illegal debt (an issue on which we express no opinion), we

            would sustain London's RICO convictions.

                                         III.
                                         III.
                                         ____

                      For   the  reasons  stated,  the  judgment  of  the

            district court is affirmed.
                              affirmed
                              ________















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